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                                                                                  FILED
                                                                      United States Court of Appeals
                          UNITED STATES COURT OF APPEALS                      Tenth Circuit

                                FOR THE TENTH CIRCUIT                        September 7, 2023
                            _________________________________
                                                                            Christopher M. Wolpert
                                                                                Clerk of Court
 DARLENE GRIFFITH,

        Plaintiff - Appellant,

 v.                                                            No. 23-1135
                                                  (D.C. No. 1:21-CV-00387-CMA-NRN)
 EL PASO COUNTY, COLORADO, et al.,                              (D. Colo.)

        Defendants - Appellees.

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 DISABILITY RIGHTS EDUCATION
 AND DEFENSE FUND, et al.,


         Amici Curiae.
                            _________________________________

                                         ORDER
                            _________________________________


        This matter is before the court on the Motion to Withdraw as Counsel for

Plaintiff- Appellant Darlene Griffith. The motion is granted. Meghan Palmer is hereby

withdrawn as counsel of record for the appellant. Devi M. Rao, Andrew McNulty, and

Mari Newman will remain counsel of record for appellant.


                                            Entered for the Court



                                            CHRISTOPHER M. WOLPERT, Clerk
